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              United States Court of Appeals
                            For the First Circuit


 No. 20-2195



    SIERRA CLUB; NATURAL RESOURCES COUNCIL OF MAINE; APPALACHIAN
                           MOUNTAIN CLUB,

                           Plaintiffs, Appellants,

                                        v.

  UNITED STATES ARMY CORPS OF ENGINEERS; COLONEL JOHN A. ATILANO,
  II, Commander and District Engineer, in his official capacity;
      JAY L. CLEMENT, Senior Project Manager, in his official
              capacity; CENTRAL MAINE POWER COMPANY,

                            Defendants, Appellees.


              APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MAINE

               [Hon. Lance E. Walker, U.S. District Judge]


                                      Before

                        Lynch, Thompson, and Barron,
                              Circuit Judges.


      Kevin Cassidy, with whom Earthrise Law Center was on brief,
 for appellants.
      Jeffrey A. Hall, with whom Jean E. Williams, Acting Assistant
 Attorney General, Jennifer S. Neumann, and Amelia G. Yowell were
 on brief, for appellees United States Army Corps of Engineers,
 John A. Atilano II, and Jay L. Clement.
      Joshua D. Dunlap, with whom Matthew D. Manahan, Lisa
 Gilbreath, and Pierce Atwood LLP were on brief, for appellee
 Central Maine Power Company.
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       Kevin Poloncarz, Donald L. Ristow, Lindsay Brewer, and
 Covington & Burling LLP on brief for amici curiae Calpine
 Corporation, Nextera Energy Resources, LLC, and Vista Corp.
      Shaun A. Goho and the Emmett Environmental Law & Policy Clinic
 on brief for amici curiae Environmental Law Clinic Directors.
      Anthony W. Buxton, Jonathan G. Mermin, and Preti Flaherty on
 brief for amicus curiae Industrial Energy Consumer Group.
      P. Andrew Hamilton, Timothy C. Woodcock, and Eaton Peadbody,
 P.A. on brief for amicus curiae H.Q. Energy Services (U.S.) Inc.


                                  May 13, 2021




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                LYNCH,   Circuit          Judge.        Plaintiff        environmental

 organizations       appeal        from    the     district   court's      denial    of

 preliminary injunctive relief barring construction of Segment 1 of

 a planned five-segment electric transmission power corridor in

 Maine.     This was part of a larger project which would run from

 Quebec, Canada to Massachusetts.                  See Sierra Club v. U.S. Army

 Corps of Eng'rs, No. 2:20-CV-00396-LEW, 2020 WL 7389744, at *1 (D.

 Me. Dec. 16, 2020) ("CMP Decision").

                The corridor would be built by Central Maine Power

 ("CMP"), a private company.              Plaintiffs' challenge is to the Army

 Corps of Engineers' ("Corps") decision, after its performance of

 an Environmental Assessment ("EA"), to issue a permit authorizing

 CMP to take three actions in Segment 1: (1) temporarily fill

 certain wetlands, (2) permanently fill other wetlands, and (3)

 construct a tunnel under the Kennebec River.                 They allege that the

 Corps    was    required     to    issue    not    merely    an   EA,    but   a   full

 Environmental Impact Statement ("EIS") and that the Corps acted

 arbitrarily or capriciously in conducting its EA and issuing a

 Finding of No Significant Impact ("FONSI").                       They raise other

 secondary challenges to the Corps' EA and FONSI.                  We conclude that

 that plaintiffs have failed to show a likelihood of success on the

 merits.     We affirm the district court's denial of a preliminary




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 injunction.1     We also vacate the injunction issued by this court

 on January 15, 2021 to allow us to consider this expedited appeal.

                                 I. Background

              A. State Agency Review of the CMP Corridor.

              The parameters for the project were originally set by

 Massachusetts.        Massachusetts     selected    the   CMP   proposal    from

 fifty-three     proposed    clean    energy    projects    in   a   competitive

 bidding process.2        State regulators and private utilities were

 responsible for that selection.           No federal agency was involved.

 Massachusetts approved only the specific route outlined in CMP's

 proposal.     "The [Massachusetts] process essentially predetermined

 CMP's role as applicant and limited the alternatives analysis to

 only those which are available and capable of being done by CMP."


       1   To earn a preliminary injunction, parties must
 demonstrate four factors: (1) the likelihood of success on the
 merits; (2) the likelihood of irreparable harm absent an
 injunction; (3) a balancing of hardships; and (4) the public
 interest. Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir.
 2010) (citing Nken v. Holder, 556 U.S. 418, 433 (2009)). Sierra
 Club urges us to place less emphasis on the first prong, even
 though our case law has emphasized that prong's primacy in the
 preliminary injunction assessment. See Ryan v. ICE, 974 F.3d 9,
 18 (1st Cir. 2020) ("The movant's likelihood of success on the
 merits weighs most heavily in the preliminary injunction
 calculus."). Regardless, Sierra Club would not prevail even if we
 adopted their view of the test. We therefore need not decide the
 issue.
       2  Massachusetts originally selected the Northern Pass
 Transmission project, which would have travelled through New
 Hampshire. New Hampshire regulators did not approve the Northern
 Pass project. After that rejection, Massachusetts selected the
 CMP proposal through Maine.


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              Maine    also     approved   the     project     after   much      more

 extensive review than the Corps engaged in in its EA.                   After CMP

 won the contract to construct the corridor, the Maine Department

 of Environmental Protection ("MDEP") accepted written and oral

 testimony     about    the   project,     and   after    a    hearing    approved

 construction. MDEP concluded that the CMP Corridor in its entirety

 had   minimal      environmental     impacts,     provided     that     CMP     took

 mitigation measures, which it has agreed to undertake.                           The

 approved route consists of five segments, four of which track

 existing transmission lines.         MDEP reviewed all 8,600 acres of the

 project, and issued a 113-page order approving the plan subject to

 various    additional     conditions,     which    CMP   adopted.       The    MDEP

 assessed the project impact on: (1) wildlife, (2) forest and

 habitat fragmentation, (3) depletion of natural resources, (4)

 disruption during construction, (5) the visual aesthetics of the

 region, and (6) the feasibility of alternatives.                  It concluded

 that subject to mitigation measures to limit the visual and

 environmental impacts of the project, the CMP corridor did not

 impose unreasonable environmental risks.              The Corps reviewed the

 project as modified by the State of Maine.

              The Maine Public Utilities Commission also approved the

 project    after     holding    public    hearings      and   accepting       public

 comment.    The Maine Law Court later upheld that approval.               NextEra

 Energy Res., LLC v. Me. Pub. Utils. Comm'n, 227 A.3d 1117, 1119


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 (Me. 2020).      The Maine Bureau of Parks and Lands also leased to

 CMP a right of way over state land.

              B. Federal Agency Review of the CMP Corridor.

              The Corps became involved in the CMP project because

 construction in Segment 1 will require (1) temporary filling of

 wetlands; (2) permanent filling of wetlands; and (3) construction

 of a tunnel under the Kennebec River.3             Each of these activities

 requires permit approval from the Corps under either the Clean

 Water Act (for temporary and permanent fills) or the River and

 Harbors Act (for tunneling under the Kennebec River).                 33 U.S.C.

 §§ 403, 1341, 1344(a).

              Federal    law    requires    the    Corps    to    consider    the

 environmental impact of permitting these activities.              The National

 Environmental Protection Act ("NEPA") is a procedural statute.                42

 U.S.C. § 4332(C).        It sets out environmental policy objectives

 which are largely implemented through regulations promulgated by

 the   Council    on    Environmental    Quality    ("CEQ")      and   individual

 agencies.     See Sierra Club v. U.S. Army Corps of Eng'rs, 803 F.3d

 31, 37 (D.C. Cir. 2015) ("Flanagan South").

              Two categories of CEQ and Corps regulations are relevant

 to this litigation.        The first concerns the appropriate scope of


       3   At MDEP's request, the Corps also advised MDEP that a
 "zig zag" route through CMP's 300-foot-wide right of way would not
 significantly mitigate impacts to wetlands, and could cause other
 environmental consequences.


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 the required review.       It is uncontested that NEPA applies only to

 "major [f]ederal actions." 42 U.S.C. § 4332(C). Whether a project

 is a major federal action is itself governed by federal law.                  The

 scope of the required federal environmental review of the CMP

 corridor, as it involves a private project over state or private

 land, is in turn governed by regulations from two federal agencies,

 CEQ and the Corps.

              CEQ   regulations    state    "[i]n    assessing    whether     NEPA

 applies    or   is   otherwise     fulfilled,      Federal   agencies    should

 determine . . . . [w]hether the proposed activity or decision is

 a major Federal action [or if other factors not relevant here

 excuse compliance with NEPA]."             40 C.F.R. § 1501.1 (emphasis

 added).

              The   Corps   has   promulgated     more   detailed     rules   for

 determining the proper scope of its NEPA analysis.               33 C.F.R. pt.

 325, app. B, § 7(b) ("Appendix B") says:

              In some situations, a permit applicant may
              propose to conduct a specific activity
              requiring a Department of the Army (DA) permit
              (e.g., construction of a pier in a navigable
              water of the United States) which is merely
              one component of a larger project (e.g.,
              construction of an oil refinery on an upland
              area). The district engineer should establish
              the scope of the NEPA document (e.g., the EA
              or EIS) to address the impacts of the specific
              activity requiring a DA permit and those
              portions of the entire project over which the
              district engineer has sufficient control and
              responsibility to warrant Federal review.



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 Id. § 7(b)(1).         The Corps further identifies four "[t]ypical

 factors    to   be   considered     in   determining     whether    sufficient

 'control and responsibility' exists" over "portions of the entire

 project" requiring NEPA review beyond the "impacts of the specific

 activity requiring a [Corps] permit."            These are:

                   (i) Whether or not the regulated activity
              comprises "merely a link" in a corridor type
              project (e.g., a transportation or utility
              transmission project).
                   (ii) Whether there are aspects of the
              upland facility in the immediate vicinity of
              the regulated activity which affect the
              location and configuration of the regulated
              activity.
                   (iii) The extent to which the entire
              project will be within Corps jurisdiction.
                   (iv) The extent of cumulative Federal
              control and responsibility.

 Id. § 7(b)(2).       Appendix B further states:

              [I]f an applicant seeks a [Corps] permit to
              fill waters or wetlands on which other
              construction or work is proposed, the control
              and responsibility of the Corps, as well as
              its overall Federal involvement would extend
              to the portions of the project to be located
              on the permitted fill. However, the NEPA
              review would be extended to the entire
              project, including portions outside waters of
              the United States, only if sufficient Federal
              control and responsibility over the entire
              project is determined to exist; that is, if
              the regulated activities, and those activities
              involving regulation, funding, etc. by other
              Federal agencies, comprise a substantial
              portion of the overall project.

 Id. § 7(b)(3)(emphasis added).




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              A second category of regulations governs the nature of

 the environmental inquiry the Corps is required to do.                       CEQ

 regulations say that agencies should identify categories of agency

 actions that do not normally require preparation of an EA or EIS.

 For all other actions, CEQ states agencies should first prepare an

 EA to determine whether more detailed analysis is necessary.                  40

 C.F.R. § 1501.4-5.         The EA must "[b]riefly provide sufficient

 evidence and analysis for determining whether to prepare an [EIS]

 or a [FONSI]."4      40 C.F.R. § 1501.5.

              CEQ regulations set out ten factors for the agency to

 consider in assessing the impact from a proposed action and whether

 an EIS is necessary.       40 C.F.R. § 1508.27(b)(1)-(10).

       C. Environmental Findings of the Corps, Conclusions of Law,
       and the Scope of Review.

              Applying these rules, the Corps limited the scope of its

 environmental review to the jurisdictional waters that required a

 permit from the Corps for construction.              It weighed each of the

 four Appendix B factors, and found no reason to expand the scope

 of its review beyond the environmental impact of its own permit.

 The Corps found that it had only limited jurisdiction over a small


       4   Other circuits have described an EA as "a rough-cut,
 low-budget environmental impact statement designed to show whether
 a full-fledged environmental impact statement -- which is very
 costly and time-consuming to prepare and has been the kiss of death
 to many a federal project -- is necessary." Spiller v. White, 352
 F.3d 235, 237-38 (5th Cir. 2003) (quoting Sabine River Auth. v.
 U.S. Dep't of Interior, 951 F.2d 669, 677 (5th Cir. 1992)).


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  portion of the project, and accordingly this did not warrant review

  of   the   entire   CMP   Corridor.       In    particular,    it   repeatedly

  emphasized that activities requiring a Corps permit "compris[e]

  approximately 1.9% of the total project corridor."             The Corps also

  found that the total cumulative federal oversight was insufficient

  to "federalize" the entire project.             It stated, "[t]he scope of

  review . . . does not overlap with [other federal agencies'

  review]."

               The Corps conducted an EA for the activities that fell

  within its limited jurisdiction.           The Corps incorporated MDEP's

  comprehensive environmental analysis into its own analysis.                   It

  also incorporated the U.S. Fish and Wildlife Service's ("FWS")

  analysis of the impact of the project on endangered species.                 The

  U.S. Department of Energy ("USDOE") further acted as a consulting

  and cooperating agency during the Corps' EA process.

              The Corps made findings as to a number of potential

  environmental impacts.        It concluded, for example, that "forest

  fragmentation as a result of activities within . . . [the Corps']

  jurisdiction is not significant," and it assessed the potential

  loss of habitat for a number of Maine species, and in particular

  the impact under the Endangered Species Act.              It also considered

  CMP's proposed mitigation measures.            Its review took approximately

  three years.     During that period, the Corps issued notice of its

  proposed action, and accepted hundreds of public comments.                    It


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  also conducted a public hearing and considered alternatives to the

  proposed CMP route.        In its 164-page final EA, issued on July 7,

  2020, the Corps found no significant environmental impacts from

  the issuance of a permit for the three categories of activity

  requiring a Corps permit.

                 We outline the Corps' description of the entire project

  and the role of Segment 1 within it.              The entire five-segment CMP

  corridor consists of approximately 144.9 miles of transmission

  lines running from the Maine/Canadian border to a substation in

  Lewiston,       Maine,     where   it     connects      to     existing     power

  infrastructure.       The Corps' EA found the majority of the corridor

  route follows existing transmission lines.                   It concluded that

  Segment    1    covers   53.1   miles,    which    passes    through   primarily

  commercially harvested timber forest, crosses the Kennebec River,

  then    continues    through    largely    undeveloped       stretches    of   the

  Western Maine Mountains. In Segment 1, only 0.26 acres of wetlands

  will be permanently filled.        The Corps noted that along Segment 1,

  14.08 miles will remain entirely forested, and the remainder of

  the corridor will involve "tapered" clearing, which limits the

  impact on forest fragmentation.

                 The Corps stated that along the entire corridor, 4.87

  acres     of    wetlands    will   be    permanently     filled    during      the

  construction, and by power stations and poles. An additional 47.64

  acres will be temporarily filled during construction. 111.55 acres


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  of wetlands will be affected by forest cover clearing.               The Corps

  identified 1404 distinct wetlands and 757 vernal pools located

  within the transmission line portions of the entire project.                  Of

  these, 82 wetlands and 83 vernal pools would be partially affected

  by permanent fills.

              The Corps also noted that CMP will undertake a number of

  mitigation    measures    to   offset   environmental      impacts    from   the

  corridor.    CMP committed to "conserv[ing] 40,000 acres of land in

  the vicinity of Segment 1" "to address the project's impact on

  habitat fragmentation and wildlife movement."               Along the entire

  project CMP committed to preserving "in perpetuity" a further

  1022.4 acres of land, including 510.75 acres of wetlands.

              The Corps also reviewed FWS's biological assessment and

  concluded that construction in the areas requiring a permit from

  the Corps had a limited impact on endangered species.

              Accordingly, the Corps issued a FONSI, and did not

  prepare a more intensive EIS.

              D.   Other Federal Agency Review of the CMP Corridor
              project.

              Three other federal agencies issued permits to CMP as

  well.    The USDOE became involved solely as to the issuance of a

  Presidential Permit necessary to approve an international border

  crossing.     On January 14, 2021, after plaintiffs brought this

  appeal, USDOE issued a Presidential Permit allowing the border



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  crossing.           In that context, USDOE reviewed the environmental

  impacts of the project before issuing that permit, but all parties

  agree that it did not conduct an EIS, as plaintiffs seek here.5

                 The FWS also licensed the taking of endangered species

  during construction.              FWS reviewed the impact of the project on

  endangered species, as reflected in the Corps' own EA. Finally,

  the Federal Energy Regulatory Commission ("FERC") approved CMP's

  transmission service agreements related to the corridor.                    FERC's

  review was limited to the potential impact from the project on

  rates paid by utility customers.

                                II. Procedural History

                 Plaintiffs brought this lawsuit on October 27, 2020.6

  They       argued    that   the    Corps'   EA   and   FONSI   were   arbitrary   or

  capricious in violation of the Administrative Procedure Act.                      5

  U.S.C. § 706(2)(A).               In particular, plaintiffs argued that the

  Corps failed to properly apply its own Appendix B regulations.

  They argued (1) the scope of the Corps' EA was too narrow, (2) the

  Corps failed to account for baseline environmental conditions in



         5  In fact, USDOE stated that it takes the position that
  it is not subject to NEPA, and its environmental review was
  entirely discretionary. U.S. Dep't of Energy, New England Clean
  Energy Connect Environmental Assessment, DOE/EA-2155, at 3 (Jan.
  14, 2021), available at https://www.energy.gov/sites/default
  /files/2021/01/f82/ea-2155-necec-2021-01.pdf.

         6  We acknowledge and thank all of the amici curiae for
  their helpful submissions in this matter.


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  its EA, (3) the Corps underestimated the intensity of environmental

  impacts from the project and should have conducted an EIS, and (4)

  the Corps failed to provide adequate opportunity for notice and

  comment.     See CMP Decision at *9-10, *17.            Plaintiffs also made

  other arguments which they do not raise on appeal.               Id.

              On   December     16,    2020,    the   district     court    denied

  plaintiffs' motion for preliminary injunctive relief.                  It held,

  "the Corps gave each of its regulatory factors (in particular the

  scoping factors of 33 C.F.R. Part 325, Appendix B, and intensity

  factors of 40 C.F.R. § 1508.27 (2018)) due consideration and

  reasonably exercised judgment on the appropriate application of

  the   same."     Id.   at   *14.     The     district   court   also     rejected

  plaintiffs' other challenges to the EA.

              On    December     28,    2020,     plaintiffs      brought     this

  interlocutory appeal.        On December 30, 2020, plaintiffs filed an

  Emergency Motion for Injunction Pending Appeal.                 This court, as

  said, granted plaintiffs motion on January 15, 2021.7




        7   The same day CMP filed a Motion to Reconsider on the
  grounds that the USDOE had issued an EA and FONSI that covered all
  of Segment 1, which CMP argued satisfied plaintiffs' request for
  relief. At oral argument plaintiffs countered that assertion as
  untrue and made clear that the USDOE had not issued an EIS and
  that its claims against the Corps were not affected by the USDOE
  action. We denied the CMP motion on January 22, 2021.


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                                  III. Analysis

              We review the district court's denial of plaintiffs'

  motion for a preliminary injunction for abuse of discretion. Corp.

  Techs., Inc. v. Harnett, 731 F.3d 6, 10 (1st Cir. 2013).                  "[T]he

  trial court, at the preliminary injunction stage, need not predict

  the eventual outcome on the merits with absolute assurance, [and]

  an appellate court need not conclusively determine the merits of

  the   underlying     claims    to   execute abuse-of-discretion review."

  Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 16

  (1st Cir. 1996) (citation omitted).            The grant of a preliminary

  injunction is "an extraordinary remedy that may only be awarded

  upon a clear showing that the plaintiff is entitled to such

  relief."     Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22

  (2008).     An agency decision is unlawful if it is "arbitrary,

  capricious, an abuse of discretion, or otherwise not in accordance

  with law."     5 U.S.C. § 706(2)(A).       The reviewing court determines

  whether the agency action is arbitrary or capricious.               Id.    Here,

  plaintiffs have failed to demonstrate a likelihood that the Corps

  acted arbitrarily and capriciously.

              To be clear about what is not at issue, plaintiffs make

  no argument that the Corps' general standards (codified in Appendix

  B) for whether an otherwise private project has been federalized




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  are   inadequate.8       To    the   contrary,    in   their    opening    brief

  plaintiffs cite only to Appendix B as the applicable legal standard

  by which to adjudicate whether the Corps engaged in the proper

  scope of review.      Accordingly, they have waived any challenge that

  the Corps' Appendix B regulations are inconsistent with NEPA or

  fail to capture all relevant considerations.9 See White v. Hewlett

  Packard Enter. Co., 985 F.3d 61, 70 (1st Cir. 2021) (citing

  Rife v. One W. Bank, F.S.B., 873 F.3d 17, 19 (1st Cir. 2017)) (an

  issue not briefed on appeal is waived).           Plaintiffs' lead argument

  is instead that they have shown a likelihood of success that the

  Corps' application of the Appendix B factors was arbitrary or

  capricious.      Plaintiffs have not met their burden.                 The Corps

  applied each of the Appendix B factors with a reasoned discussion

  before reaching its conclusion.

              A    central      consideration,     based     on    the     record,

  articulated by the Corps as to each of the factors and as to its

  conclusion, was that its permitting jurisdiction over waters of

  the United States constituted only a small part of Segment 1 and



        8   Relatedly, defendants make no argument that Appendix B
  is too broad in federalizing a project and thus do not contend
  that the project would not be federalized if it met the conditions
  in Appendix B.
        9   As to the genesis of Appendix B, see generally William
  B. Ellis & Turner T. Smith, Jr., The Limits of Federal
  Environmental Responsibility and Control Under the National
  Environmental Policy Act, 18 Env't L. Rep. 10055 (1988).


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  an even smaller part of the overall project.                The Corps found that

  less than 2% of the overall corridor required a Corps permit.                      We

  do not repeat the other findings we described earlier in this

  opinion.    The Corps also properly considered the cumulative effect

  of the activities of other federal agencies: FERC had in 2018

  allowed CMP to enter into service contracts; USDOE issued a

  Presidential     Permit    for   the    Canadian      border      crossing;      FWS's

  analysis was incorporated into the Corps' EA; and FERC's analysis

  related solely to consumer rates.               Plaintiffs have not shown a

  likelihood of success that the Corps' conclusion that the overall

  project was not a major federal action was arbitrary or capricious.

              "The    [Corps]      is    considered      to       have   control    and

  responsibility for portions of the project beyond the limits of

  Corps jurisdiction where the Federal involvement is sufficient to

  turn   an   essentially     private     action       into   a    federal   action."

  Appendix B § 7(b)(2).       As we explained above, the Corps lists four

  factors that should typically be considered in determining whether

  sufficient federal control exists.             Id.   Plaintiffs focus in large

  part on the first listed factor in Appendix B, "[w]hether or not

  the regulated activity comprises 'merely a link' in a corridor

  type project."        Plaintiffs are correct that the examples in

  Appendix B do not address dispersed regulated activities or the

  import of multiple "links."           But plaintiffs disregard the framing

  of the Appendix B factors as "[t]ypical factors to be considered."


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  Nothing in Appendix B suggests that if a regulated activity is not

  "merely a link" it necessarily indicates "sufficient control and

  responsibility" on the part of the Corps.10                Even assuming that,

  as   plaintiffs    argue,      the   Corps'    regulated    activity   did   not

  constitute "merely a link" and that, as the plaintiffs also argue,

  "there are aspects of the upland facility in the immediate vicinity

  of   the     regulated    activity    which    affect   [its]    location    and

  configuration,"11 we find that the Corps could reasonably rely on

  the negligible percentage of the entire project that is within

  Corps      jurisdiction   to   conclude   that    the   Corps   did    not   have

  "sufficient control and responsibility to warrant Federal review"

  of the entire project.

                Plaintiffs do challenge the Corps' conclusion that only

  1.9% of the project is within the Corps' jurisdiction, suggesting


        10  In fact, it is possible to understand this first factor
  in Appendix B only as rejecting a particular form of but-for
  causation in the corridor-project context.      See Ellis & Smith,
  supra note 7, at 10060-61; cf. Ohio Valley Env't Coal. v. Aracoma
  Coal Co., 556 F.3d 177, 195 (4th Cir. 2009) ("[T]he fact that the
  Corps' § 404 permit is central to the success of the valley-filling
  process does not in itself give the Corps 'control and
  responsibility' over the entire fill."). And, because this is a
  corridor-type project, we find the plaintiffs' reliance on White
  Tanks Concerned Citizens, Inc. v. Strock, 563 F.3d 1033, 1041 (9th
  Cir. 2009), unavailing.
        11  The Corps argues that this second factor "is inapt for
  corridor projects." "We defer to the Corps' interpretation unless
  it is plainly erroneous or inconsistent with Appendix B," Sierra
  Club, Inc. v. Bostick, 787 F.3d 1043, 1054 (10th Cir. 2015), but
  we need not resolve this interpretive question because we find
  that the factor is not dispositive even if it applies.


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  that the proper figure is 17%.             Plaintiffs have failed to show,

  however, that the 1.9% figure excludes areas within the Corps'

  jurisdiction.      Cf. Flanagan South, 803 F.3d at 34 (analyzing a

  pipeline    project      and   explaining    that     the   agencies'    actions,

  including    the   "Corps'      Clean   Water   Act     verifications      of   the

  pipeline's    many    water     crossings,"     were    "limited    to   discrete

  geographic segments of the pipeline comprising less than five

  percent of its overall length").           Moreover, as the Corps argued to

  us, both the 1.9% figure and the 17% figure are well under the 60%

  figure referenced in Appendix B's examples.                      See Appendix B

  § 7(b)(3) ("[I]f 30 miles of [a] 50-mile transmission line crossed

  wetlands or other 'waters of the United States,' the scope of

  analysis should reflect impacts of the whole 50-mile transmission

  line.").

              Nor do plaintiffs' arguments about cumulative federal

  involvement suffice to tip the scale.                For the reasons we have

  adverted    to,    the    Corps    could    rationally      conclude     that   the

  involvement of other agencies here did not rise to the level of

  cumulative     involvement        sufficient    to     trigger     Appendix     B's

  federalization theory.            The Corps' holistic determination that

  "sufficient 'control and responsibility'" did not exist was not

  arbitrary or capricious.

              Plaintiffs' remaining challenges also do not demonstrate

  a likelihood of success on the merits.               Plaintiffs argue that (1)


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  the Corps failed to adequately assess the baseline environmental

  conditions in Segment 1 in its EA, (2) apart from any argument

  about cumulative federal control, the Corps improperly "segmented"

  its own EA from the USDOE's analysis, (3) the Corps should have

  conducted an EIS, and (4) the Corps failed to provide adequate

  opportunity for notice and comment.              In several of these claims

  plaintiffs rely on the premise we have rejected, that the Corps

  was obligated to review the entirety of Segment 1.                In any event,

  none have merit.

                The Corps assessed the baseline environmental conditions

  in its EA both in a standalone section, and in discussing the

  environmental impacts of the project.            The Corps also incorporated

  the   whole    of   MDEP's    environmental      analysis,     which    discussed

  baseline environmental conditions along the entirety of the CMP

  Corridor.        Plaintiffs    argue    in     conclusory     terms    that   this

  assessment was insufficient.           Plaintiffs have failed to show a

  likelihood of success on their claim that the Corps' assessment of

  the    baseline       environmental     conditions      was     arbitrary     and

  capricious.12

                Plaintiffs     next   claim      that   the     Corps    improperly

  "segmented"     its    environmental     analysis     from    USDOE's    separate


        12  Half Moon Bay Fishermans' Mktg. Ass'n v. Carlucci, 857
  F.2d 505, 510 (9th Cir. 1988), on which plaintiffs rely, is plainly
  distinguishable. In Half Moon Bay the Corps "fail[ed] to set forth
  any baseline conditions." Id. (emphasis added).


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  assessment.       This argument is waived.        Plaintiffs did not raise it

  before the district court, and do not explain why they were unable

  to do so.       See United States v. Zannino, 895 F.2d 1, 9 n.7 (1st

  Cir. 1990).       While USDOE did not issue its final EA until January

  14, 2021, after plaintiffs filed this appeal, plaintiffs were aware

  that USDOE and the Corps were conducting separate EAs throughout

  the district court litigation.              In any event, CEQ regulations

  direct agencies to coordinate in preparing an "impact statement."

  40     C.F.R.    §   1508.25(a)(1).         CEQ   does      not   impose    similar

  requirements on EAs and plaintiffs provide no other source of

  authority for such a requirement.

                 Plaintiffs    also   claim      that   the    Corps   should    have

  conducted an EIS because "[t]he [corridor] will have significant

  impacts not only to aquatic resources but also the surrounding

  forest and wildlife."         Again, plaintiffs fail to demonstrate that

  the Corps' decision to issue a FONSI instead of proceeding to an

  EIS was arbitrary or capricious.            The Corps issued a 164-page EA,

  which analyzed the impacts of the Corps permits on wetlands, as

  well    as     surrounding   forest     land    and   wildlife.       The     Corps'

  conclusions matched MDEP's own detailed environmental analysis.

  The    Corps    considered    factors    relating     to    the   "intensity"    of

  environmental impact pursuant to CEQ regulations.                      40 C.F.R.

  § 1508.27(b).        Plaintiffs do not challenge those regulations.

  Instead, plaintiffs state "Segment 1 . . . will run through more


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  than 800 aquatic resources, and will establish new, fragmenting

  electrical infrastructure through the Western Maine Mountains."

  Plaintiffs argue the Corps "failed to consider the effects from

  forest fragmentation."         This is contrary to the record.               The

  argument also fails because it depends on their already rejected

  assertion that Segment 1 is a major federal action.

              Separately,     plaintiffs      claim   that    the   project     is

  scientifically "controversial" and therefore required an EIS.                Cf.

  Hillsdale Env'tl Loss Prevention, Inc. v. U.S. Army Corps of

  Eng'rs, 702 F.3d 1156, 1181 (10th Cir. 2012).                "Controversy is

  only one of ten factors the Corps must consider when deciding

  whether to prepare an EIS." Id. (citing 40 C.F.R. § 1508.27(b)(4))

  "[It] is not decisive but is merely to be weighed in deciding what

  documents to prepare."        Town of Marshfield v. FAA, 552 F.3d 1,5

  (1st Cir. 2008).        Plaintiffs argue that they have submitted a

  series of affidavits from experts who disagree with portions of

  the Corps' EA analysis.        Many of these claims rely on plaintiffs'

  unsuccessful argument that the Corps was obligated to consider the

  environmental effects along the entirety of Segment 1.              Plaintiffs

  and their experts argue, for example, that the greenhouse gas

  reductions from the CMP Corridor are overstated, and that the

  impacts of forest fragmentation are understated.              Because we have

  rejected plaintiffs' arguments as to scope, these arguments do not

  show controversy.      Plaintiffs' remaining claims also fail to show


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  a scientific controversy requiring an EIS.             The Corps considered

  and responded to criticisms of its methodology and conclusions in

  its EA, and its analysis accords with the detailed position of

  MDEP.    This situation is plainly distinguishable from the cases

  that plaintiffs rely on.         See Sierra Club v. U.S. Forest Serv.,

  843 F.2d 1190, 1193-94 (9th Cir. 1988) (Forest Service approval of

  timber sales for "experimental, untested and certainly unproven"

  clearcutting of giant sequoias was controversial in light of

  testimony and affidavits         from biologists       and conservationists

  opposing the Forest Service's conclusions in its EA); Standing

  Rock Sioux Tribe v. U.S. Army Corps of Eng'rs, 985 F.3d 1032, 1044-

  46 (D.C. Cir. 2021) (agency decision was controversial where the

  agency failed entirely to address in its EA criticisms about the

  use of a particular leak detection technology that was untested

  for pipelines like the one at issue).

              Finally, plaintiffs say that the Corps failed to provide

  adequate opportunities for notice and comment before issuing the

  final FONSI.     But the "Corps did provide public notice and held a

  public hearing as part of its EA review process.            The Corps' public

  hearing complemented other public hearings associated with the

  [CMP Corridor] but overseen by other agencies."              CMP Decision at

  *11.    As the district court noted, the Corps has discretion under

  CEQ rules as to whether it opens the final FONSI to 30 days of

  public comment.      CEQ regulations require agencies to provide for


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  public    involvement     "to   the     extent     practicable,"     40   C.F.R.

  § 1501.5(e),     and     hold   or    sponsor     NEPA    hearings    "whenever

  appropriate    or   in   accordance     with     the   statutory   requirements

  applicable to the agency," id. § 1506.6(c); see also CMP Decision

  at *10.    A 30-day comment period is only required if an EIS would

  ordinarily be required, or if the agency's proposed action is

  "without precedent." 40 C.F.R. § 1501.6(a)(ii). Neither condition

  is present here.

                                         IV.

              The order of the district court is affirmed.                    This

  court's January 15, 2021 injunction is vacated.




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